
USCA1 Opinion

	










          June 8, 1995
                                [NOT FOR PUBLICATION]
                           UNITED STATES COURT OF APPEALS 
                                FOR THE FIRST CIRCUIT


                                 ____________________


        No. 95-1043

                                  EDWARD W. SEELEY,

                                Petitioner, Appellant,

                                          v.

                              UNITED STATES OF AMERICA,

                                Respondent, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Rya W. Zobel, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                          Selya and Boudin, Circuit Judges. 
                                            ______________

                                _____________________

            Edward W. Seeley on brief pro se.
            ________________
            Donald  K. Stern,  United States  Attorney, and  June C. Seraydar,
            ________________                                 ________________
        Assistant United Attorney, on brief for appellee.


                                 ____________________

                                 ____________________






















                      Per Curiam.   Petitioner Edward  W. Seeley  appeals
                      __________

            pro se from  the dismissal  of his second  petition under  28
            ___ __

            U.S.C.   2255.  For the following reasons, we affirm.

                      In February  1987, a federal grand  jury returned a

            superseding indictment charging petitioner with conspiracy in

            violation  of  18  U.S.C.     371  (count  I); conspiracy  to

            interfere with commerce  by robbery in violation of 18 U.S.C.

              1951 (count II); two  counts of interference with  commerce

            by robbery in violation of  18 U.S.C.    2, 1951 (counts  III

            and IV); armed bank  robbery in violation of 18  U.S.C.    2,

            2113(d) (count V); and possession of money stolen from a bank

            in violation  of 18 U.S.C.     2,  2113(c) (count  VII).   On

            February  24, 1988,  a jury acquitted  petitioner of  the two

            conspiracy charges,  but convicted him of  the remaining four

            charges.  The district court sentenced petitioner to  a total

            of thirty-five years imprisonment.  

                      We  affirmed  petitioner's  conviction   on  direct

            appeal.  United States v. Seeley, 892 F.2d 1 (1st Cir. 1989).
                     _____________    ______

            On  May 18, 1992, petitioner  filed his first    2255 motion.

            He alleged that  counts IV  and V were  multiplicitous.   The

            district  court vacated  the sentence  on count  V, but  left

            unchanged  the  total punishment  time.   Petitioner appealed

            from  this  decision, and  we  affirmed.   United  States  v.
                                                       ______________

            Seeley, 7  F.3d 219 (1st Cir. 1993) (table) (per curiam).  On
            ______

            August 8, 1994,  petitioner filed his  second   2255  motion,



















            claiming  that  (1)  his convictions  on  counts  III and  IV

            violate  the  Double  Jeopardy  Clause and  the  doctrine  of

            collateral  estoppel  because he  was  acquitted  of the  two

            conspiracy charges;  and (2)  his  thirty-five year  sentence

            violates due  process because  the district court  considered

            evidence of his involvement in the conspiracy.   The district

            court dismissed  the petition on the  ground that "petitioner

            is not entitled to the relief he seeks."  This appeal ensued.

            Because the  district court disposed  of the instant  case on

            the  merits (rather  than on  abuse of  the writ  ground), we

            shall do likewise.  

                      In  support of  his claim  that his  convictions on

            counts  III and IV violate the Double Jeopardy Clause and the

            doctrine of collateral estoppel, petitioner argues that these

            counts  are  multiplicitous  with  counts  I  and  II.   This

            argument  is  meritless.    First,  double  jeopardy  is  not

            implicated  here   since  there   was  a  single   trial  and

            petitioner, who was acquitted  of the conspiracy charges, did

            not  receive  multiple  punishments   for  the  offenses   of

            conspiracy and  interference with  commerce by robbery.   See
                                                                      ___

            United  States  v.  Dixon,  113  S.  Ct.  2849,  2855  (1993)
            ______________      _____

            (observing that the  Double Jeopardy Clause protects  against

            successive  prosecutions and  successive punishments  for the

            same offense); United States v. Flores-Rivera, 1995 WL 318726
                           _____________    _____________





                                         -3-















            at  *11, n.5 (1st Cir. June  1, 1995).  Second, a substantive

            crime and a conspiracy to commit that

















































                                         -4-















            crime are not the same offense  for double jeopardy purposes.

            United States v. Felix, 503 U.S. 378, 389-92 (1992); Callanan
            _____________    _____                               ________

            v. United  States, 364  U.S. 587,  597 (1961)  (conspiracy to
               ______________

            violate the  Hobbs Act  and  a substantive  violation of  the

            Hobbs Act based on the same conduct are two separate offenses

            even  though   both  offenses  violate  the   same  statute).

            Finally, although  the doctrine  of collateral  estoppel bars

            relitigation of issues previously determined in a defendant's

            favor, it  does  not, contrary  to  petitioner's  suggestion,

            require the verdict rendered at a single trial to be entirely

            consistent.   See United States v. Console, 13 F.3d 641, 664-
                          ___ _____________    _______

            65  &amp; n.28  (3d  Cir. 1993),  cert. denied,  114 S.  Ct. 1660
                                          ____________

            (1994).

                      Petitioner's  due  process   argument  is   equally

            unavailing.   It is well-established that  a sentencing court

            may consider relevant conduct--including the facts underlying

            an acquittal----in  determining the length  of a  defendant's

            sentence.   See United States v. Mocciola, 891 F.2d 13, 16-17
                        ___ _____________    ________

            (1st  Cir.  1989)  (sentencing   court  may  consider   facts

            underlying  prior acquittal);  United States  v. Wright,  873
                                           _____________     ______

            F.2d 437, 441 (1st Cir.  1989) (observing that past practice,

            and authoritative case  law, indicates that the  Constitution

            does  not,  as  a  general matter,  forbid  consideration  of

            relevant conduct).    Assuming, arguendo, that the sentencing
                                            ________

            court in



                                         -5-















            the   instant  case   considered  evidence   of  petitioner's

            involvement in  the conspiracy  in determining the  length of

            his sentence, this was not error.

                      Affirmed.  
                      ________













































                                         -6-









